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                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF CALIFORNIA

                                   MEMORANDUM

Honorable Kimberly J. Mueller                  RE: Wei Hu
United States District Judge                       Docket Number: 2:14CR00220-007
Sacramento, California                             PERMISSION TO TRAVEL
                                                   OUTSIDE THE COUNTRY

Your Honor:


Wei Hu is requesting permission to travel to Vancouver and Toronto, Canada. He is current with
all supervision obligations, and the probation officer recommends approval be granted.


Conviction and Sentencing Date: On November 9, 2016, Wei Hu was sentenced for the offense
of 21 U.S.C. 846 and 841(a)(1), Conspiracy to Manufacture Marijuana (Class C Felony).


Sentence Imposed: 12 months and 1 day custody in Bureau of Prisons; 3 years Supervised
Release; and $100 Special Assessment (paid).


Dates and Mode of Travel: August 29, 2018, through September 10, 2018. Mode of travel is by
airline.


Purpose: Vacation.




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                                                                                                REV. 03/2017
                                                                 TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
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RE:      Wei Hu
         Docket Number: 2:14CR00220-007
         PERMISSION TO TRAVEL OUTSIDE THE COUNTRY


                                       Respectfully submitted,


                                        Adrian Garcia
                                       ADRIAN GARCIA
                                  United States Probation Officer

Dated:     August 7, 2018
           Fresno, California
           AG/dp


REVIEWED BY:                     Tim D. Mechem
                                TIM D. MECHEM
                                Supervising United States Probation Officer



                                    ORDER OF THE COURT

The Court orders:

         ☒Approved ☐ Disapproved

DATED: August 10, 2018.


                                                     UNITED STATES DISTRICT JUDGE




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                                                                                                   REV. 03/2017
                                                                    TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
